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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF LOUISIANA
                         LAFAYETTE DIVISION

MICHAEL D. CORMIER                       CASE NO. 6:20-CV-00860 SEC P

VERSUS                                   JUDGE JUNEAU

UNKNOWN DEFENDANT                        MAGISTRATE JUDGE WHITEHURST


                                  JUDGMENT

      THIS MATTER was referred to United States Magistrate Judge Carol B.

Whitehurst for report and recommendation. After an independent review of the

record, and noting the absence of any objection, this Court concludes that the

Magistrate Judge’s report and recommendation is correct and adopts the findings

and conclusions therein as its own. Accordingly,

      IT IS ORDERED, ADJUDGED, AND DECREED that the Petition for Writ

of Habeas Corpus is DENIED and DISMISSED WITH PREJUDICE.

       THUS DONE AND SIGNED in Lafayette, Louisiana, on this 19th day of

 October, 2020.




                                          MICHAEL J. JUNEAU
                                          UNITED STATES DISTRICT JUDGE
